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                                ELECTRONICALLY FILED

                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

 AUSTIN CLARK,                                )
                                              )
              Plaintiff                       )
                                              )      Civil Action No. 3:21-CV-480-DJH
 v.                                           )
                                              )
 UNIVERSITY OF LOUISVILLE, et al.,            )
                                              )
                                              )
               Defendants                     )

        NOTICE OF WITHDRAWAL OF COUNSEL OF AARON T. VANCE

       Aaron T. Vance, pursuant to LR 83.6, hereby provides notice that, effective August 12,

2022, he is no longer associated with Dinsmore & Shohl LLP and is therefore withdrawing his

appearance as counsel, with consent, for the University of Louisville, Neeli Bendapudi, Lori

Gonzalez, Toni Ganzel, Olivia Mittel, Monica Shaw, Jennifer Koch, William Crump, Mohan Rao,

and Thomas Neely in the above-captioned matter. Donna King Perry, Matthew Barszcz, and

Suzanne Marino of Dinsmore & Shohl LLP will remain as counsel of record of the aforementioned.

                                                  Respectfully submitted,

                                                  /s/Aaron Vance
                                                  Donna King Perry
                                                  Matthew Barszcz
                                                  Suzanne Marino
                                                  Aaron Vance
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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 10, 2022, the foregoing was filed with the Clerk of Court
using the CM/ECF system, which will automatically send notification of such filing and serve
counsel for all parties.

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                                                           /s/Aaron Vance
                                                           Counsel for Defendants




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